 

Case 2:18-cv-13826-GAD-DRG ECF No. 1, PagelD.1 Filed 12/10/18 Page 1 of 29

MIED ProSe 1 (Rev 5/16} Complaint for a Civil Case

IN THE UNITED STATES DISTRICT COURT

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Case:2: 18-cy-1 3826
Judge: Drain, Gershwin A,

MJ: Grand,

 

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ct TYS.

(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional

page with the full list of names.)

y,  Wadneka Sorret\
Wham Ford

Shake of michuan(CPS
WMS. Perea ‘Parspnas \ rokcsntonelly
ms. Bel) Grayval \ ca Essieraily

WAS. Trunss Rerayul | Prckesxawily

ey a\

(Write the full name of each defendant

names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page

with the fuil list of names)

CMP ADAMS

who is being sued. If the

 

 

Complaint for a Civil Case

L, ET AL (dat)

Jury Trial:

M David R.
Hed: 12-10-2048 At 04:31 pyy

On bDehaif of TJS v SORREL

Ww Yes

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(to be filled in by the Clerk's Upnce,

C) No

(check one)
Case 2:18-cv-13826-GAD-DRG ECF No.1, PagelD.2 Filed 12/10/18 Page 2 of 29

MIED ProSe | (Rev 5/16) Complaint for a Civil Case

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name Clmanda. GaAcinS on behalfob miner TIS
Street Address C\ i Rutan cla Le

Cityand County —_ Veclerel Warne

State and Zip Code YW NK 224

Telephone Number BB WKS 4$47)

E-mail Address

 

 

 

 

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation.
For an individual! defendant, include the person’s job or title (if known). Attach
additional pages if needed.

Defendant No. 1

 

 

 

 

Name No She Le Sypyre. \\
Job or Title

(if known)

Street Address €\ OO Sclreacic acd
City and County Vedi LUA Ling
State and Zip Code MA N?wenS

 

Telephone Number
E-mail Address

 

 

 

 

 

 

(if known)
Defendant No. 2 \
Name Swit oy Wc ecein Ch Aa Yoleckue Sey uc
Job or Title :
(if known)
Street Address \a203 Wars Way Axe
City and County VA spetine Pax YAU
State and Zip Code WA W203

 

Telephone Number 2\4, UCL - V200 313 KSD)- hae

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Case 2:18-cv-13826-GAD-DRG ECF No. 1, PagelD.3 Filed 12/10/18 Page 3 of 29

MIED ProSe | (Rev 5/16) Compiaint for a Civil Case

H.

Defendant No. 3

 

 

Name IMS. Pe. ck
Job or Title CPs LOot oir
(if known)

   

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Street Address $23 Nui rit

City and County iy spiced ede Le {ys
State and ZipCode Vib UX 20 8

Telephone Number 41> 7) 27-44 ib

E-mail Address
(if known)

 

 

 

Defendant No. 4

 

 

 

 

Name DY De
Job or Title CPS Seopec VAN
(if known) ,

2a 23
Street Address \O1L99 ha mi lien A You
Cityand County = \y cial aot Veck LA YA Lie
State and Zip Code WAL LVS 703

 

Telephone Number “4%, &S2Z - [700

E-mail Address
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Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C.

§ 1332, a case in which a citizen of one State sues a citizen of another State or nation and the
amount at stake is more than $75,000 is a diversity of citizenship case. In a diversity of
citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

A Federal question O Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
Case 2:18-cv-13826-GAD-DRG ECF No. 1, PagelD.4 Filed 12/10/18 Page 4 of 29

MIED ProSe | (Rev 5/16) Complaint for a Civil Case

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States
Constitution that are at issue in this case.

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com depreucy oF equal Preteen unctiy db lav,

B. If the Basis for Jurisdiction Is Diversity of Citizenship

1, The Plaintiff(s)

a.

If the plaintiff is an individual
The plaintiff, (name) :
is a citizen of the State of (name)

 

 

If the plaintiff is a corporation

The plaintiff, (name) :
is incorporated under the laws of the State of (name)

, and has its principal place of business in the

 

 

State of (name)

 

(if more than one plaintiff is named in the complaint, attach an additional page
providing the same information for each additional plaintiff.)

2. The Defendant(s)

a.

If the defendant is an individual

 

 

The defendant, (name) , is a citizen of the
State of (name) . Oris a citizen of (foreign
nation)

 

If the defendant is a corporation

The defendant, (name) , Is incorporated
under the laws of the State of (name) , and
has its principal place of business in the State of (name)

. Or is incorporated under the laws of
foreign nation) , and has its principal place
of business in (name)

 

 

 

 

 

(If more than one defendant is named in the complaint, attach an additional
page providing the same information for each additional defendant.)

4
Case 2:18-cv-13826-GAD-DRG ECF No.1, PagelD.5 Filed 12/10/18 Page 5 of 29

MIED ProSe | (Rev 5/16) Complaint for a Civil Case
3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes
or the amount at stake—is more than $75,000, not counting interest and costs of
court, because (explain):

“Tax \e. clekeracacd DU, Amide ole X we

III. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly
as possible the facts showing that each plaintiff is entitled to the damages or other relief sought.
State how each defendant was involved and what each defendant did that caused the plaintiff
harm or violated the plaintiff's rights, including the dates and places of that involvement or
conduct. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

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Case 2:18-cv-13826-GAD-DRG ECF No.1, PagelD.6 Filed 12/10/18 Page 6 of 29

MIED ProSe 1 (Rev 5/16) Complaint for a Civil Case

IV. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do
not make legal arguments. Include any basis for claiming that the wrongs alleged are
continuing at the present time. Include the amounts of any actual damages claimed for the acts
alleged and the basis for these amounts. Include any punitive or exemplary damages claimed,
the amounts, and the reasons you claim you are entitled to actual or punitive money damages.

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Vv. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
specifically so identified, will likely have evidentiary support after a reasonable opportunity for
further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-

related papers may be served. I understand that my failure to keep a current address on
file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: VZ- 10 2010.

 

Signature of Plaintiff (Lwarede, Acero evr We bedt atk pea nwt nll TAS

Printed Name of Plaintiff Awana Aris on bela l€ ob manic cndd FiA,S-

 
   

ase 2:18-cv-13826-GAD-DRG ECF No.1, PagelD.7 Filed 12/10/18 Page 7 of 29

December 1* ,2018

Notice to Principal is Notice to Agent
Notice to Agent is Notice to Principal

Case Number 18-001743

Petition #18-002515-NA

AFFIDAVIT OF TRUTH

|, Amanda Adams, of the House of Scott , being a living breathing soul and one of the people of the the State of
Michigan do hereby present to you my NOTICE of Truth and Facts for the purpose of correcting any and all
records. This is NOTICE and DEMAND that said records be corrected to reflect the truth of my status.

ANY and ALL claims of any such adhesion contract being in existence anywhere are based upon a fraud and
anyone perpetuating a fraud is guilty of aiding and abetting a fraud as well as perjury of oath. | have never
entered into any contract with any corporate government knowingly, intentionally, or voluntarily. No such
contract could be valid as such a contract would be between unequal parties with no opportunity for
negotiation of terms. A valid contract would require the signatures of both parties, valid and valuable
consideration, full disclosure of facts, and a meeting of the minds. No such document exists.

Be it known to all who call themselves "government," their "courts," agents, and other parties, that |,
Amanda Adams , am a natural, freeborn individual, without subjects. lam neither subject to any entity

lam not a “person” as defined in "statutes" when such definition includes "artificial entities." | refuse to be
treated as a "federally" or "state" created entity which is only capable of exercising certain rights, privileges, or

immunities as specifically "granted" by "federal" or "state" "governments."

| may voluntarily choase to comply with the "laws" which others attempt to impose upon me, but no such
"laws," nor their "enforcers," have any authority over me. | am not in any "jurisdiction," for | am not of subject

status.

Unless | have wilfully harmed or violated someone or someone's property without their consent, | have not

committed any crime, and am therefore not subject to any penalty.

Thus, be it known to all, that | reserve my natural right not to be compelled to perform under any "contract"
that | did not enter into knowingly, voluntarily, and intentionally. Furthermore, | do not accept the "liability"
associated with the compelled and pretended "benefit" of any hidden or unrevealed “contract” or "commercial
agreement.”

 
  
  

ase 2:18-cv-13826-GAD-DRG ECF No.1, PagelD.8 Filed 12/10/18 Page 8 of 29

As such, the hidden or unrevealed "contracts" that supposedly create "obligations" to perform, for persons of
subject status, are inapplicable to me, and are null and void. If | have participated in any of the supposed
“benefits” associated with these hidden "contracts," | have done so under duress, for lack of any other practical
alternative. | may have received such “benefits” but t have not accepted them in a manner that binds me to
anything.

Any such participation does not constitute “acceptance,” because of the absence of full disclosure of any valid
offer, and voluntary consent without misrepresentation or coercion. Without a valid voluntary offer and
acceptance, knowingly entered into by both parties, there is no "meeting of the minds,” and therefore no valid
contract. Any supposed "contract" is therefore void, fram the beginning.

From my age of consent to the date affixed below | have never signed a cantract knowingly, willingly,
intelligently, voluntarily, and intentionally whereby | have waived any of my natural inherent rights, and, as
such, take notice that | revoke, cancel, and make void from the beginning my signature on any and ail

"contracts," "agreements,' “forms,” or any “instrument” which may be construed in any way to give any agency

or department of any "government" any "authority," "venue," or "jurisdiction" over me.

REVOCATION OF POWER OF ATTORNEY

| hereby revoke, rescind, cancel, and make void from the beginning, all powers of attorney, in fact or otherwise,
implied in “law” or otherwise, signed either by me or anyone else, as it pertains to, as it pertains to my "birth

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certificate," and as it pertains to any and all other numbers, "licenses,” "certificates," and other "instruments"
issued by any and all "government" and quasi-"governmental" departments or agencies, due to the use of

various elements of fraud by said agencies to attempt to deprive me of my sovereignty, family and/or property.

| hereby waive, cancel, repudiate, and refuse to knowingly accept any alleged "benefit" or "gratuity" associated

Wom

with any instruments.” My use of any such numbers, "licenses," "certificates," or other "instruments" has been

for information purposes only, and does not grant any "jurisdiction" to anyone.

| do hereby revoke and rescind all powers of attorney, in fact or otherwise, signed by me or atherwise, implied
in “law" or otherwise, with or without my consent or knowledge, as it pertains to any and all property, real or

personal, corporeal or incorporeal, obtained in the past, present, or future. | am the sole and absolute owner

and possess allodial title to any and all such property.

Take notice that | also revoke, cancel, and make void from the beginning all powers of attorney, in fact, in
presumption, or otherwise, signed either by me or anyone else, claiming to act on my behalf, with or without
my consent, as such power of attorney pertains to me or any property owned by me, by, but not limited to, any
and all quasi/colorable, public, "governmental" departments, agencies or corporations on the grounds of
constructive fraud, cencealment, and nondisclosure of pertinent facts.
  
  

ase 2:18-cv-13826-GAD-DRG ECF No.1, PagelD.9 Filed 12/10/18 Page 9 of 29

|, Amanda Adams do so now correct all documents made under duress and coercion pertaining to the
misleading elements in Case Number 18-001743 and Petition #18-002515-NA. Children Proctective Service and
State of Michigan Corparation were supposed to investigate the numerous child abuse and neglect reports
concerning Tamiya Sorrell. The intial CPS repert came from Thurston HS regarding the abuse and neglect of
Tamiya Sorrell they noticed elements of abuse and neglect and as mandated reports they did make there report
as a result of CPS investigation they failed to follow up on possible retaliation against Tamiya.

The child abuse,neglect and failure to provide occured when the (Birth Mother) Tasheka Lashunn Sorrell
retaleaited againts Tamiya from the intail CPS report from Thurston HS residing at 25100 Schoolcraft Rd.
Redford MI ,48239.

| Amanda Adams on several occasion have rescued Tamiya from horrible, ungodly, pitful situations which no
child should have to go through.My neice Elise was placed with me in a safety plan and they were friends along
with several other child that all hung out together.Because the children knew and particpated in activities
together i knew Tamiya.

| recieved a frantic, emergent call from Tamiya around April 2018 stating her mom (Tasheka ) made her take her
bra and panties off after beating her up as those were her belongs as she(tasheka) paid for them and told her to
get out. Tamiya was crying scared and hysterical as she did not know what to do. | arrived at white castle
walked in tamiya was sitting at a table tears running down her face shivering and shaking as she was so
distraught by what had happened. she was unable to even put her winter coat on because she was forced out
of the house.| hugged her wiped her face and put tamiya in my car to tell me what happened.As her mother
(Tasheka} put her out. Tamiya indicated that her mom (tasheka) and Ms. Peirce had conspired to create a paper
trail using false alligations to set the tone for their conspirency. Tasheka has taken tamiya downtown to Juvenile
dentetion to attempt to just drop her there and also Vista Maria both told Tasheka they were unable to take
tamiya as she has no record in school out of school isn't on drugs isnt a problem child and (Unknown) to me the
mother (Tasheka )has been filing false run away reports on tamiya with the guidance of CPS worker Ms. Peirce
to cover up her {tasheka}) actions. When i arrived home i was met with a redford police and Tasheka in their cars.
(Tamiya and Elise are very good friend) . | talked with the Officer regarding what happened and he spoke with
Tamiya with tears running down her face he made her(Tamiya) get in the car with her mom.

On another occasion i have picked Tamiya up from a Dunkin Donuts after walking more then a mile in the rain
wet,cold and barefoot where they gave her food and shelter and the worker at Dunkin Donuts there felt so bad
for tamiya being barefoot and wet she gave tamiya her shoes until i arrived. Once } saw her soaking wet
dishvilled and crying my heart broke how can anyone do this to a child.| took her to my home allowed her to
take a hot shower and gave her warm dry clothes to put on.

| also have physcially seen Tasheka choke and throw her daughter (Tamiya) on the ground outside thier home
as | was driving my child to school . | stopped as my child also saw it and was in shock and feared for her she is
so tiny and fragile to see her mather (Tasheka) standing over her punching her i was terrified. Tamiya brother
was able to get their mother (Tasheka} off tamiya.Tamiya began walking i stopped in a driveway to see if tamiya
was alright again Tamiya had no coat on, Tamiya was crying her brother was trying to talk to tamiya and tell his
mom (Tasheka} to et her just go to school and leave her alone. | called Tamiyas grandmother (Sheila} as the
police had already been called from a passer by. Sheila arrived put tamiya in her car and was yelling at Tasheka
for doing all this nonsense and Tasheka you can't keep hitting her. Tamiya was in the same clothes i had given

 

 
  
  

ase 2:18-cv-13826-GAD-DRG ECF No.1, PagelD.10 Filed 12/10/18 Page 10 of 29

her days ago from the prior incident at dunkin donuts.

| have provided money on the lunch books at school so tamiya could eat lunch as family refused to fill out
paperwork or provide money for her to eat. | have had to replace clothes that Tasheka has bagged up as she
states our her's she (Tasheka) paid for them she can have the clothes you bought her Amanda ,I am not doing
anything for tamiya (Tasheka). Tasheka has reached out to me several times in a violent matter regarding
Tamiya, Tasheka has given my number out to multiple people and my son’s also. Tasheka called sounding drunk
screaming and yelling at me regarding CPS and has asked me if i wanted to “fuck her daughter'"(Tamiya) she was
drunk and clearly has some deep seeded issues to think something like that | told Tasheka she should try to just
listen to what Tamiya has to say and to go to counsling and they both need it, as CPS suggested and maybe that
could be the first step into trying to fix all these issues. Tasheka replied she doesn't need counsling. But will go
only for Tamiya as tamiya is the crazy one who needed counsling i did say Tasheka you should at least try .

As Tamiya has informed me along with her friends that have made me aware as well, Tamiya would often be
put outside of the house her mother (Tasheka) would lock her out on multiple occasions Tamiya has attempted
to sleep but was extremely vulernable and in fear on the porch, in the park on a playscape in the dark cold and
alone having to watch her surroundings and fearful that or someone would do something to her.

| got a call from a stranger at a gas station telling me where Tamiya was and she looks hurt, hysterical and in
pain. i went up there as i have done several times to make sure this Chid was safe she was not again tamiya
was bare foot cold and crying and hunched over in pain from being hit in her stomach alli could do is grab her
hug her and teil her it will get better, i cried with her as i have tried some many times not too because the level
of abuse is unfatheble. | try to keep her strong i gave her my phone and had her cali the Redford Police i also
reached out to her Aunt Deon and begging and crying for her to step in and help her neice something has to
change. Deon said she was on the way but also said she can't permnanly keep tamiya Redford Police took
Tamiya back to there house and Tasheka was arrested and Deon took Tamiya home and called me to let me
know she had Tamiya, that weekend Deon brought TaMiya to my house we talked and agreed to keep in touch
regarding Tamiya.

Tasheka was released from a 72 hour hold after being arrested and requested Tamiya be taken from Deon
because of personal issues between them. fact is Tamiya was safe with her Aunt Deon and CPS Ms. Peirce took
her out of that safe enviroment and returned her to mom (Tasheka}.

Once again i was called to rescue her. Tamiya was then sent to her brother's baby mom's house again being in
another unsafe situation sleeping in a bed with other child ,no food for any of the children and a strange man
there she didn't know. how can any parent have there child let alone there young daughter in a place with a
strange man but as Tamiya put this again was retaliation for CPS involvement. Tamiya called me crying and all i
could do is cry with her and try to uplift her to hold her head up high and encourage her that her life was
meaningful and deserved.I was on vacation at this time a thousand miles away feeling helpless and again was
terrfied for Tamiyas safety. | agatn called and made another CPS report regarding this new situation. Again all
under the care of Child Protective Services and the State of Michigan Corparation and their CPS worker's. | also
emailed Officer Cooper with the Redford Police station making him aware of another incident as he was in
Michigan . Officer Cooper told me if she comes to me and i feel she is unsafe i have the legal right to house her.
| have made 8 different reports regarding different and more elevated abuse to the point the person taking
these reports were scared and terrified and felt bad for tamiya. How can people that don't know this child

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ase 2:18-cv-13826-GAD-DRG ECF No. 1, PagelD.11 Filed 12/10/18 Page 11 of 29

{Tamiya} care more about her safety then her own family.

Another incident Tamiya went to school on Friday morning and let her brother and grndmother (Sheila) know
she was going to attend the schaol football gme after school as it was the Ist game and she couldn't cheer she
wanted to support her team as her mother had pulled her off of the cheer team again retalition for CPS
reports.After the game another parent went to drop tamiya off at home 25100 Schoolcraft Rd Redford MI,
48239. Tamiya used her key to the home and couldn't unlock the door we also tried to get the key to work and
the locks were changed. | was called as i was dropping another child off from the parent dropping off tamiya
who told me she was unable to get into her home.!| arrived and waited with the other parent for 45 mins in
which no one answered the door or phones.The friend from schools mom took tamiya home and brought her
back later where she still was unable to get into her home. The parent wasnt going to just leave tamiya outside
50 she took her home for the night so tamiya was safe.Saturday morning i picked Tamiya up and again took her
back to her house trying her key again was unable to get into her home and no one was hame. | took her back
to my (Amanda) home. Several more times throughout the day myself,the friends parent and my cousin took
tamiya back to her house to get into her home no one answered the phone or was home. Sunday again
collectively as parents myself and the friends parent went back and forth to tamiya's home trying to see if
anyone was there and able to let her into her home. Several failed attempts all weekend i made another CPS
report to the hotline regarding 72 hours without Tamiya being able to gain access to her hame and no call
backs from Tasheka , Sheila or any calls from neither Tasheka or Sheila i reported it as abadonment. It was not
until after 6 pm on Sunday did Redford police show up to my home as they often.did with the false run away
reports being made by Tasheka regarding Tamiya. | explained to the officer what had transpired all weekend
and he agreed it was neglect and abadonment and said i did right by calling and making a report. He took
Tamiya home. During this weekend Tamiya cried wondering what it was she did so wrong for all of her family to
turn their backs on her as she was not the person that made the report it was the school.” Why am i being
punished like this is all she could say” and that she felt like if she could just make herself invisable it would be
better she can't take all of this mistreatment. | told her she did not deserve this and let the CPS workers figure it
out. “Tamiya said but their not there not doing anything and things keep happening to me what would happen
to me if you werent here and Karrissa”. Tamiya said she would probably be kidnapped or dead by now. |
reassured tamiya i would keep supporting her and not allow thase things to happen to her as God has the final
say with what happens with all his children. | could see Tamiya growing more and more fragile as the days and
weeks went an her mental and emotional status almost depleated and me feeling like i was in a nightmare as
well i started doing internet searches trying to find someone in Lansing i could speak with to get this terrifying
nightmare to end for tamiya.

After numerous reports and incompient investigations (the police have documented the abuse and neglect but
CPS has failed too) Feeling fed up and as if Tamiya was being let down by CPS and the State of Michigan i sent a
facebook message to Mr. Bob Wheaton regarding my concerns for her safety it wasn't until Mr. Wheaton read
my email did things start getting looked into i was contacted by several higher ups at the district Adam Baker,
Mrs. Ray.

And then i recieved a call from Ms. Peirce stating a retalatory report was made against me by (Tasheka)
(Tamiya's} mother on me (Amanda} pertaing to my child's safety during this call i made Ms. Peirce aware that it
is a conflict of interest for her specifically to be cailing me regarding a false report on me as she has spoken to

 

 
  
   
 

 

ase 2:18-cv-13826-GAD-DRG ECF No. 1, PagelD.12 Filed 12/10/18 Page 12 of 29

me several times regarding Tamiya Sorrell. | then placed a call to her supervisor Ms. Bell expalining the conflict

of interest and without me even saying any names she knew exactly who i was and mentioned Tamiyas name

saying she doesn't pick which worker is assigned to a report and hung up on me. The next day i recieved a call

from Ms. Marks of CPS saying she was assigned to the report against me. i informed her she did not have my

consent to go to my child school and or speak to my minor child without me being present we agreed to meet

that day i picked my child up from school and went home to meet her. Ms. Marks looked at my home
complimented me on my living room (She loves the colors) Ms. Marks was showed my childs room,clothes in 2
closets,flushed toilet, turned water on,looked in fridge and even showed her my stocked cabinets. Ms. Marks
made a face like why am i here said she would be in contact she has 30 daysto close a case his was on 10/11/18.

Few weeks went by Tamiya was removed from her mother and placed in foster care with (Joan Williams}, when
i recieved another call from Ms. Marks who | thought was updating me about this retalatory report made
against me but no she spoke of Tamiya and a phone i gave her to make sure if she was ever in a unsafe or
harmful situaion she was able to call 911. Soi asked Ms. Marks are you acting on behalf of a case on me or on
behalf of someone else she then told me both cases were being looked at together and again i ask what did
this call have to do with my case and my son she couldn't answer. She told me either i get the phone back from
Tamiya or they will and i can get it from them. i told them that is my property you do not have my consent to
touch ,take ,hold onte,keep or anything else or i will report it stolen. | asked when i would recieve a follow up
regarding my case and she told me they're opening an investigation she would follow up next week. | asked on
why was the investigation being open and was told nothing. It's been over 30 days and they are fully aware that
my house was already deemed a safe place from her district for my neice. (My home has been Certified safe
and acceptable by child protective services in several counites).| have reported each and every incident
regarding Tamiya with school,CPS,Officer Cooper and Redford Police. | am in the health care professional and its
my duty to report and i followed the protocol regarding tamiya and any other child.

3 weeks went by now we are was past the 30 day mark to close the retalitory case and a false report filed by
the abusive mother (Tasheka} still remains open and combined with a case has nothing to do with me. i made
reports pertaining too Tamiya as a mandated report as iam in the health care profession. It was my neice and
son and other children who brought these matters to my attention and they told Tamiya to reach out to me. a
safety plan was in place for my neice to tive in my home thru Highland park CPS Ms. Johnson my home was
approved as a safe place. | listened to Tamiya crying ,shaking not being able to eat or sleep and felt like she just
thought her life wasn't worth anything i grew a bond and relationship with her i supported her listened to how
she felt and encouraged her with positive words showed her a different type of parent and support to keep her
off the edge and a confidont to her as she still is afraid i have feed her daily shes showered at my house i have
held her when she can't pick her head up because she is so drained emotionally and mentally. | have extended
my home to tamiya as a safe place to finish school and assist with the emanciaption process for her to graduate
schoal, work, and learn all the indenpdant skills she needs to be on her own when she enters college. Tamiya is
a very well behaved child she has no issues in or out of school, doesn't do drugs party or drink. Tamiya is
focused on school getting a job (which we got and she was unable to start) under my direction she found
employment which would help elevate the stress of home, but Tasheka wouldn't allow her the neccassary
documents needed.( Birth Certificate,Social security card and state ID) At the begining of this school year
Tamiya filled out a new emergency contact card at Thurston HS with my information on it as a emergency
contact for her. Her grandmother (Sheila) signed off on it and after buying all tamiyas school supplies and

clothes(Amanda), sheila(Grandmather) welcomed and invited me to me to drop them off to them. | have been

 
  
   
 

ase 2:18-cv-13826-GAD-DRG ECF No. 1, PagelD.13 Filed 12/10/18 Page 13 of 29

the one consitent person in tamiyas life (over the last year} to support her and care for all her needs i am
tamiyas safe place as ive been told many times by her and i have opened my heart my life and home to her as if
she was my own child until she reaches college. The issues is i grew up a state ward i saw a child going through
things i could relate too and it was a normal reaction for me to support her and make sure she was safe. Feeling
as defeated as Tamiya does i sincerely hoped that when ij reached out to Mr. Wheaton things would get better
for Tamiya but they didn't . | have watched Tamiya go thru so much abuse,neglect inso many different ways
while under the care and supervision of CPS and her mother (Tasheka} and foster care. | thanked God that
Tamiya was removed from the abusive and neglectful home i was relieved to know she would get the proper
help she needed and to be safe.

It sickens me that Tamiya was placed with a licensed foster parent and verbally assualtd on a day to day basis
and have to hear the rasicms and to just be stuck feeling uncomfortable to move in this persons home because
of color of her skin doesn't suit you (Joan Williams) It is wrong to make them steep with their coats on to avoid
turrning on heat this is again abused and neglect and then to have this foster parent(Joan Williams)
violently,physically shaking and grabbing tamiyas arm and scratching tamiya, after everthing that tamiya has
already had to endure another horiffic trauma again.No one did anything it is unacceptable.CPS and the State of
michigan corparation have done a servere injustice to Tamiya the trauma she's endured had to deal with hasn't
been addressed with therapy or counsling so it just sit within her day in and day out.

| grew up in this same system and it was broken then and has became more apparent now it's more broke then
ever. Tamiya is traumatized by all of this and again i feeling hopeless some days,my heart weeps for her
because no one cares. Tamiya need to be loved,supported ,feel safe and secure tamiya does excellent in school
and needs to be invovied in the things she loves Cheerleading and other sports. (i paid for cheerleading for
tamiya thru the school which her grandmother approved cheerleading she offered to buy the shoes as that was
the only thing i had yet to purchased}Tamiya's aunt Deon was fine with me being there and providing things
tamiya needed. As Tasheka has told me she is fine with me buying her clothes as they are the only clothes she
will have.Sheila (grandmother) was also acceting of all i was doing for tamiya and then backed off as things
went on and tamiya wanted to go o court. Sheila chose to stand by her daughter Tashekas side leaving tamiya
to fend for herself. she wants and needs to be somewhere stable. Tamiya also needs therapy which no one has
been able to get set up for her, either they don't care or just don't want too.tamiya has been through abuse
from her mother (Tasheka}.CPS and the people who were supoose to protect her.

Her foster care worker who removed tamiya from the foster home. also violently,grabbed and snatched tamiya
and took a phone from her hands and stole her phone Tamiya ask for her phone back and was told she wasn't
getting it back.! (Amanda) purchased and pay the monthly bill on Tamiya's phone so if she needs o call 911 she
is able to do so. Under Cps and Foster care she was placed in a temporary shelter and went missing. After the
police came ta my home and searched to see if she was there i also recieved a call from her foster care worker
asking if i had heard or seen Tamiya. | rold Ms. Gaines the iast time i saw her she was in the back of your van
and asked where Tamiya was she stumble over her words and i asked her if she losted her i was told she could
not tell me anything. Tamiya's family has reached out witha phone cail asking have i seen tamiya people are
driving by parking in front of my house. | recieved a call from Tamiya saying she was safe but she can’t take
anymore of CPS and the State saying what they were going to do and haven't. Tamiya can't force (Tasheka}
mom to stop drinking or gambling and her (Deon) aunt would be harrassed if tamiya was to at her aunt Deons
home. Tamiya looked into emancipation and wants to go forward with it. Tamiya said she loves me and wants to
come home to me (Amanda). | told Tamiya to fill out an affadavit and send it to me and i (Amanca) will go file
  
  

ase 2:18-cv-13826-GAD-DRG ECF No. 1, PagelD.14 Filed 12/10/18 Page 14 of 29

an immediate injunction for her family and Children Protective services and The state of Michigan to seize and
assit. Enough is Enough i will continue fighting for and support this child till the last breathe i take Tamiya will
not be losted by the wayside of a broke down corrupt system that claims to have children best interest at heart
beacause you don't and ive personally seen it.My intention was not to interfer in a family relationship but to
encourage them to seek therapy,unity and love,but in a years time that hasn't happened.

| will assist Tamiya in the emancipation process as she is 16 on March 1,2018. Tamiya will reside (9171 Riverdale
Redford MI, 48239). in my home safe,stable and secure. and able to live as normal teenage girl in her own
room, attend school, attend cousling and i will provide all her clothes and any and all things Tamiya might
need.and i am assisting her in getting legal counsle.

| will not participate in circus activities designed to attack innocent people such as Tamiya Sorrell or myself
{Amanda Adams}. | made several reports to the CPS report of abuse Hotline on behalf of Tamiya Sorrell. The
complaints were never fully looked into as the coarsion between Ms. Peirce and Tasheke Sorrell! was already in
motion. | found out both Ms. Peirce and Ms. Bell CPS officer lied. Child Proctective Services continues to
perpetuate a court case when most important elements are still missing incoplete documnets they have
omitted the truth . | will not appear or participate in fraud, False files and missing reports upon the court or on
behalf of Tamiya Sorreil.

Since Child Protective Services refuses to cancel a false complaint and lied to me, there is no contract. | do not
consent to contract with Child Protective Services nor it’s courts because the conflict of intereest is to
great.Constitutional laws have been broken by CPS and Tasheka Sorrell. | Invoke the UCC which states if there is
no contract there is No Case! God lead tamiya into my life for a reasan and i plan te follow him by faith to help
Tamiya .

| affirm that all of the foregoing is true and correct. | affirm that | am competent to make this Affidavit. | hereby
affix my own signature to all of the affirmations in this entire document with explicit reservation of all my
inalienable, Civil ,Human Biological,lndigenous rights and my specific right not to be bound by any “contract” or
“obligation” which | have not entered into knowingly, voluntarily, intentionally, and without misrepresentation,
duress, or coercion.

The use of notary below ts for identification only, and such use does not grant any "jurisdiction" to anyone.
  
  

ase 2:18-cv-13826-GAD-DRG ECF No.1, PagelD.15 Filed 12/10/18 Page 15 of 29

negotiation of terms. A valid contract would require the signatures of both parties, valid and valuable
consideration, full disclosure of facts, and a meeting of the minds. No such document exists.

ANY and ALL claims of any such adhesion contract being in existence anywhere are based upon a fraud and
anyone perpetuating a fraud is guilty of aiding and abetting a fraud as well as perjury of oath.

 
   

ase 2:18-cv-13826-GAD-DRG ECF No. 1, PagelD.16 Filed 12/10/18 Page 16 of 29

FURTHER AFFIANT SAITH NOT.

Subscribed and sworn, without prejudice, and with all rights reserved,

(Printed Name} Atninda Ar lams

Principal, by Special Appearance, in Propria Persona, proceeding Sui Juris.

autograph: WY yt @ Od awa

Date: V24O- e

On this day of , , before me, the undersigned, a Notary Public for
, personally appeared the above-signed, known to me to be the one whose name
is signed on this instrument, and has acknowledged to me that s/he has executed the same.

 

Signed:

 

Printed Name:

 

Date:

 

Address:

 

I have never entered into any contract with any corporate government knowingly, intentionally, or voluntarily.
No such contract could be valid as such a contract would be between unequal parties with no opportunity for
   

@ 2:18-cv-13826-GAD-DRG ECF No.1, PagelD.17 Filed 12/10/18 Page 17 of 29

December ist , 2018

Notice to Principal is Notice to Agent
Notice to Agent is Notice to Principal

RE: Case Number 18-001743

Petition #18-002515-NA

AFFIDAVIT OF TRUTH

|, TaMiya Joy Sorrell, of the House of William, being a living breathing soul and one of
the people of the the State of Michigan do hereby present to you my NOTICE of Truth
and Facts for the purpose of correcting any and all records. This is NOTICE and DEMAND
that said records be corrected to reflect the truth of my status. Tamiya Sorrell Sworn
Affadvit of Truth, Emancipation,Constitutional, Civil, Human, Biological indegenious Rights.

ANY and ALL claims of any such adhesion contract being in existence anywhere are
based upon a fraud and anyone perpetuating a fraud is guilty of aiding and abetting a
fraud as well as perjury of oath. | have never entered into any contract with any
corporate government knowingly, intentionally, or voluntarily. No such contract could
be valid as such a contract would be between unequal parties with no opportunity for
negotiation of terms. A valid contract would require the signatures of both parties, valid
and valuable consideration, full disclosure of facts, and a meeting of the minds. No such
document exists.

Be it known to all who call themselves "government," their “courts,” agents, and other
parties, that |,

TaMiya Joy Sorrell , am a natural, freeborn individual, without subjects. | am neither
subject to any entity

lam not a "person" as defined in "statutes" when such definition includes "artificial
entities." | refuse to be treated as a “federally" or "state" created entity which is only
capable of exercising certain rights, privileges, or immunities as specifically "granted" by
"federal" or "state" "governments."

| may voluntarily choose to comply with the "laws" which others attempt to impose
upon me, but no such "laws," nor their “enforcers,” have any authority over me. | am
not in any "jurisdiction," for | am not of subject status.

Unless | have willfully harmed or violated someone or someone's property without their
consent, | have not committed any crime, and am therefore not subject to any penalty.

Thus, be it known to all, that | reserve my natural right not to be compelled to perform

 
   

€ 2:18-cv-13826-GAD-DRG ECF No.1, PagelD.18 Filed 12/10/18 Page 18 of 29

under any "contract" that | did not enter into knowingly, voluntarily, and intentionally.
Furthermore, | do not accept the "liability" associated with the compelled and
pretended "benefit" of any hidden or unrevealed "contract" or “commercial
agreement.”

As such, the hidden or unrevealed "contracts" that supposedly create "obligations" to
perform, for persons of subject status, are inapplicable to me, and are null and void. If |
have participated in any of the supposed "benefits" associated with these hidden
"contracts," | have done so under duress, for lack of any other practical alternative. |
may have received such "benefits" but | have not accepted them in a manner that binds
me to anything.

Any such participation does not constitute "acceptance," because of the absence of full
disclosure of any valid offer, and voluntary consent without misrepresentation or
coercion, Without a valid voluntary offer and acceptance, knowingly entered into by
both parties, there is no "meeting of the minds,” and therefore no valid contract. Any
supposed "contract" is therefore void, from the beginning.

From my age of consent to the date affixed below | have never signed a contract
knowingly, willingly, intelligently, voluntarily, and intentionally whereby | have waived
any of my natural inherent rights, and, as such, take notice that | revoke, cancel, and
make void from the beginning my signature on any and all “contracts,” "agreements,"
“forms, or any "instrument" which may be construed in any way to give any agency or
department of any "government" any "authority," "venue," or "jurisdiction" over me.

REVOCATION OF POWER OF ATTORNEY

| hereby revoke, rescind, cancel, and make void from the beginning, all powers of
attorney, in fact or otherwise, implied in “law" or otherwise, signed either by me or
anyone else, as it pertains to, as it pertains to my "birth certificate," and as it pertains to
any and all other numbers, "licenses," "certificates," and other "instruments" issued by
any and all "government" and quasi-"governmental” departments or agencies, due to
the use of various elements of fraud by said agencies to attempt to deprive me of my
sovereignty, family and/or property.

i hereby waive, cancel, repudiate, and refuse to knowingly accept any alleged "benefit"
or "gratuity" associated with any instruments." My use of any such numbers, "licenses,"
"certificates, or other “instruments” has been for information purposes only, and does
not grant any “jurisdiction” to anyone.

| do hereby revoke and rescind all powers of attorney, in fact or otherwise, signed by me
or otherwise, implied in "law" or otherwise, with or without my consent or knowledge,
as it pertains to any and all property, real or personal, corporeal or incorporeal,
obtained in the past, present, or future. | am the sole and absolute owner and possess
allodial title to any and all such property.

Take notice that | also revoke, cancel, and make void from the beginning all powers of
attorney, in fact, in presumption, or otherwise, signed either by me or anyone else,
claiming to act on my behalf, with or without my consent, as such power of attorney
 
  
 
  
 
 
 
 
 
  
 
 
 

@ 2:18-cv-13826-GAD-DRG ECF No.1, PagelD.19 Filed 12/10/18 Page 19 of 29

pertains to me or any property owned by me, by, but not limited to, any and all
quasi/colorable, public, "governmental" departments, agencies or corporations on the
grounds of constructive fraud, concealment, and nondisclosure of pertinent facts.

|, TaMiya Sorrell do so now correct all documents made under duress and coercion
pertaining to the misleading elements in Case Number 18-001743 and Petition #18-
002515-NA in which the major important elements is missing. | was told that the Child
Protective Services would investigate and | didn’t have to worry about the details. When
the (Birth Mother) Tasheka Lashunn Sorrell my mom who is an alcoholic and has a
gambling addiction resides with my Grandmother (Shiela) because of these issues that
have forced my mother to not be able to provide a stable suitable environment for me,
at 25100 Schoolcraft Rd Redford Mi, 48239. Where | havebeen abused and neglected
me for a long periods of time.

Around April 2018 | went to school and Teacher's noticed something was wrong, |
was sent to the counsler and who notified Officer Keith Cooper of Redford Township
Police Dept (School Officer ). As a result Thurston High School called Child Protective
Services. An investigation was under way.

After leaving Highland Park District DHHS with my worker Ms. Pierce on the ride home
with my mother i was verbally abused being called a (bitch, Whore, Thot,Disobiendent
child, Ungrateful and being told 1 was going to die young).When arriving home all the
clothing my mother had purchased for me was then bagged up she made me take my
underwear and bra off and told me to get out of the house knowing | might get beat |
immediately left the house .| walked about a half mile and called Elise to call her aunt
Amanda. { Amanda )picked me up from white castle and took me to the police station.
Police imformed us to go to Amanda's house as police were already there with my
mother (Tasheka). 1 was returned to my mother.! didn't call CPS on my mom the school
did. | was to afraid to tell the police what happened as the result of Amanda having me
with her as | was fearing another beating if | told them.i still don't understand why my
mother did this to me | don't know if she was upset about losing money at the casino or
what | got cussed out again on the ride back to our house fearful of what would happen
once | was back inside the home.

} went to school for the next week with them same clothes on without a winter coat.
Because my mother still would not give me back my clothes.and winter coat.For a whole
week | ws embarressed and ashamed having to go to school like this.until my friends
mother ( Amanda} went and purchased me my winter coat and necessities.

A different day i was with my niece it started raining i called my mother and asked
her to pick us. My mother picked up my neice put her in the car.My mother began
yelling,cursed and hit me with my sandal in the rain and told me to figure it out seems
how i want to call CPS on her. | already know when my mom (Tasheka) says figure it out
means | have to be out of the house and away from her.| walked more then a mile
awaybarefoot cold and in the rain to O'Reilys auto parts to use the phone to calla
friend.i was hurt from being beaten with my sandals in the rain all i could do was
continued to walk and cry,not knowing what to do. Barefoot to Dunkin donuts where |
asked to use the phone and they were nice enough to give me food and the lady gave
   

€ 2:18-cv-13826-GAD-DRG ECF No.1, PagelD.20 Filed 12/10/18 Page 20 of 29

me her shoes i was picked up by a friends mother (Amanda ). Who took me to her
house let me shower and gave me a change of dry clothes. The police came to Amanda
house looking for me and tock me back to hell. and another CPS report was made on my
behalf by Amanda.

At home i was being yelled at, cursed and ignored as if | didn't exsist ,i could not eat
nor sleep because I'm in fear and scared ail the time on many days i was told to get out
of my home and figure it out. I've been locked out of my home and made to sleep in
parks all night being cold alone and scared for my life. | have felt like my life wasn‘ t
worth living. Every time i was forced out of my home or told to get out house and figure
it out my mother (Tasheka} would go file a run away report per Ms. Pierce to build a
case against me.

Another time the locks were changed when i went to school . | tried the key Amanda
tried the key and (Karrissa) another friends parent also tried the key it wouldn't unlock
the door it was apparent to all of us the locks were changed.! went back and forth to my
home several times throughout the weekend and no one was there. Krrissa or Amanda
didnt get a response from my mother or grandmother.| was left to figure it out for 72
hours of being at Amanda house | was able to sleep and have meals and showers not
knowning when my mother would show back up. It wasn't until Sunday after 6 pm did
my mother make a report i had ran away. She has all my friends numbers and never
once attempted to find me. | don't understand why and how she is this way but my
heart is broken all | ever wanted was my mother to love me, spend time with me and to
listen as if my words meant something to her. Again another CPS report was made on
my behalf by {Amanda ) who made sure i was safe, comfortable,warm and fed over the
weekend.She cared for me like | was a special person and | did mean something.

Another day as i prepared to walk to school my mother simple came outside threw
me up against the side of the house and began choking me and threw me on the ground
and my 21 yr old brother had to get her off me,i started walking to schoo! without a
winter coat and 2 of friends parents ( Amanda } (Deemeeka ) i know saw and stopped to
see if i was alright. Amanda called my grandmother Sheila because of the seen,
Grandmother showed up told my mother she was wrong for having me out side with no
coat and tAasheka stop putting your hands on me.took me home the only thing my
mother wanted to do that day was take me to Juvenile Detention and Vista Maria so |
could not stay. she said be done with me. | couldn't comprehend how a parent could
just be done with their own child. She said she did not care she did not want me.
Because i have no history of problems in school or home they told my mother i couldn't
stay. From that point things escalated even more. The school tried to help me and no
one ever followed throughout with the investigations the beatings being kicked out of
the house and being told to figure it out.

 

| returned home one night at 830 after a friend and i did homework and as soon as i
walked in to the house my mothercame at me cursing and hit me in my face ,stomach
and pulled a knife on mei ran out of the house scared for my life to a gas station where
a customer saw me holding my stomach and crying without any shoes on and asked if!
needed anything he used his phone called (Amanda) .Amanda came to gas station and i
called police the parent of a friend (Amanda ) called my Aunt Deon who met me and
   

@ 2:18-cv-13826-GAD-DRG ECF No.1, PagelD.21 Filed 12/10/18 Page 21 of 29

officers at my house where they arrested my mother.

Once my mom was released jail. And she returned to the home i was left feeling even
more in danger of my life after being told by Ms. Pierce (CPS) my mother didn't want me
with my Aunt (Deon) i had to return home.

| have told my CPS worker(Ms. Peirce} several times i don't feel safe, | am not safe i
not, comfortable my nerves or on high | live in constent fear or my mother and family.
she told me either i stay here at home or i go to a lock up facility. Why would | have to
go to a lock up facility when | am the one being abused,neglect and in fear constinetly??
| never once have felt that the CPS worker Ms. Pierce has had my safety, well-being or
best interest as priority. It is as if she is my mother friends and whatever my mom said is
what she (Ms. Peice} followed. My mother then lied to my worker and said to put me
with my brother's fiance which is actually just his baby's mother where i slept in a bunk
bed with other children and we all went without food. This strange man was in the
house but I don't know him.im feeling scared and shaking not knowing what to do |
called Amanda because | was hungry and need food she was out of town but would
reach out to Officer cooper thruogh email regarding the living situation being unsafe.

Then | was returned back to 25100 Schoolcraft Rd. Redford MI ,48239 with my
mother and grandmother it wasn't until my mother first court date. That i was removed
from my mother's home. Ali mailed that came to the house regarding me being
supbeona to these hearing for Child Abuse in fourth degree was hidden from me and j
was then bribed that if i didn't go to court i could stay in cheerleeding. | wanted to go to
court Amanda had been told per CPS worker Ms. Pierce and Ms. Bell Supervisor if i was
to have any contact with Amanda she would go to jail. Later on | never found out why
Amanda couldnt take me to court. this is how | know this is a conspirency. | was never
told why. Ms Peirce and Ms Beil never told amanda to stay away from me or she would
go to jail this is how | know this is a conspirency between my mom and Cps worker and
supervisor,

| have seen my mom physical fight my aunt for trying to stand up for me. | have had
to listen to numerous arguments between my mom and grandmother about me all the
negitive stuff they say about me they don't even try to whisper they want me to hear to
just break me. My mom and my brother's and all the negitive stuff she has to say when
someone trys to stand up for me in my family is kind of upset with CPS being involved
but ! m the one suffering and being let down.

At a football game Amanda asked Officer Cooper about court. He offered and told
Amanda she could take me to court. In which Amanda couldn't be arrested as she hasn't
done anything wrong. | was still forced without my consent to remain in unsafe and a

 
   

@ 2:18-cv-13826-GAD-DRG ECF No.1, PagelD.22 Filed 12/10/18 Page 22 of 29

harmful situation. Every time i was forced out of my home or told to go out there and
figure it out my mother (Tasheka} would go file a run away report per Ms. Pierce to
build a case against me. Yes, me and my Mother (Tasheka ) were living at 25100
Schoolcraft Rd Redford Mi 48239.

Amanda said she emailed a higher up in Cps about me being in a unsafe and harmful
environment.

I then was removed from the home and placed in a foster home with Joan Williams.
another girl Summer and i were foster kids in this home the heat was never turned on
we were told if we were cold put our coats on. We was yelled at had to stand by and
listen to this foster mom (Joan) spew rasicst comments and have been called by her (A
Ghetto Black Girl). i also had to watch the other girl try to kill herself by taking pills and
then had the person (Joan} who was supposed to provide a safe place put their hands
on me in a violent manner and then asked for me to be removed.

1 was then sent to a shelter on Grand Blvd. where i refused to give my phone up as
this has been the one thing i know if i am in trouble i can call 911 or Amanda and know i
will be taken care of by the police or Amnda. Ms. Gaines my foster care worker snatched
my personal phone out of my hands. | am pretty sure shes supposed to keep me safe as
well which means not putting your hands on me either where is exactly where my
mother said she wanted me to be somewhere i feared for my life as if living with her
(Tasheka) wasn't enough. The first night i saw a very violent fight, had to witness 3 girls
trying to hang themselves on the stairs,watching as my belongings were handed out.
But this is CPS looking out for me and my safety.In every situation | have been in | have
feared for my safety been alone, scared of what will happen next.

Amanda always tried to help me stay positive and know that | was loved and to
contiue holdong my head high as you never let anyone see that they broke you. This is a
collabration of coarsion between my mother Ms. Pierce, Ms Bell and Ms. Gaines and !
have been abused by a foster parent and a State of Michigan foster care worker.| can't
take anymore.

i Tamiya reached out to Amanda to let her know | was safe and | can't take anymore |
want to go to school | am falling behind and trying to get emancipated if | had to be in
all the situations | have already been in cold,alone, hungry, fearing for my life ,in the
dark,abused,neglect by all these people who have promised to protect me and haven't. |
can make it on my own.

Amanda has be the light in the dark for me she has always listened and supported me
letting me know | wasn't alone and she was there with me. Amanda opened her
home,her heart and life to me to assist in the emacipation process and make sure | can
finish high school like a normal teenager. | plan on staying in her home until | graduate
and go to college at (9171 Riverdale Redford Ml, 48239). Where | will be safe and stable
| won't have to worry about sleeping in parks or porches where my next meal is going to
come from, wearing the same clothes daily or being abused and neglected. My whole
   

 

@ 2:18-cv-13826-GAD-DRG ECF No.1, PagelD.23 Filed 12/10/18 Page 23 of 29

family has turned their backs on me because my mother physically assualst any family
member that trys to stick up for me. And on top of all this for 15 years | was lead to
believe one man was my father only to find out she doesn't know for sure | just want to
be safe,happy healthy and attend counsling and graduate high school.

| was assured by Highland Park Child Protective Services would investigate and |
didn’t have to worry about the details. The abuse, neglect and failure to provide occurs
when the mother Tasheka Sorrell at 25100 Schoolcraft Rd Redforf Mi, 48239. by the
Highland park CPS shows just how deceptive and performance of an investiagation was
never performed.

Child Protective services Highland Park District continues to perpetuate a court case
when most important elements are missing. | will not appear or participate in fraud
upon the court.

Since CPS highland Park District refuses to document my (Tamiya) abuse complaint and lied
to me, files false and incomplete reports and violently snatches and steals my phone from me,
my personal property and places me in unsafe harmful environments ,there is no contract. | do
not consent to contract with State of Michiagn ,DHHS, Child Protective Services nor it’s courts. |
Invoke the UCC which states if there is no contract there is No Case!

God has showed me my life is meaningful thru Amanda and with her support and God i know
i will be alright finally.MY best friend was placed with Amanda she is a health care professional
very involved with the school and activities and it not a stranger.

i declare and give notice now and in the future i have constented to contract with my God
given support person Amanda Adams to reside at 9171 Riverdale St Redford MI ,48239 with the
person God has sent into my (Tamiya) life that has provided me with Food, clothes , emotional
support, keeping me safe, stable | won't have to worry about sleeping in parks or porches
where my next meal is going to come from, wearing the same clothes daily or being
abused and neglected. | wont have to worrry about kids attempting suicide weather in
foster care or with my mother i am still left in the cold not properly cared for.

| just want to be safe,happy healthy and attend counsling and graduate high school.
Maintaining my grades in schoo!, Amanda for coming to my rescue in my time of need when
unsafe or in harrm has contacted CPS several times regarding all issues also with Officer Cooper
via email throughout this ordeal. And going above and beyond to maintain my safety. | know
that her and her home are safe as Highland Park District previously saw her home fit for others
several times and it is safe,stable, secure , Peace and feel with love and cared for and i have
suitable living arrangements. It is my religous belief that this is where God wants me or he
would not have brought her(Amanda) into my life . | will stay in school maintain good grades
and graduate and set short and long term goals for myself with the help of Amanda Adams to be
able to obtain them and go to college. | am filing for emancipation from my parents, the state of
   

€ 2:18-cv-13826-GAD-DRG ECF No.1, PagelD.24 Filed 12/10/18 Page 24 of 29

michigan as they have violated my rights as a human being, inalienable , Civil, Human Biological,
Indigenous , Constitutional, Civil rights.

| affirm that all of the foregoing is true and correct. | affirm that | am competent to make this
Affidavit. 1 hereby affix my own signature to all of the affirmations in this entire document with
explicit reservation of all my inalienable , Civil, Human Biological, Indigenous , Constitutional
rights and my specific right not to be bound by any "contract" or "obligation" which | have not
entered into knowingly, voluntarily, intentionally, and without misrepresentation, duress, or
coercion.

| Tamiya Joy Sorrell declare and decree that i am not subject to any jursidiction except God
and it is my relgious belief i am under God's jurisdiction.! declare and decree emancipateted
from my parents, The state of Michigan Child Protective services .
   

@ 2:18-cv-13826-GAD-DRG ECF No.1, PagelD.25 Filed 12/10/18 Page 25 of 29

| have never entered into any contract with any corporate government knowingly,
intentionally, or voluntarily. No such contract could be valid as such a contract would be
between unequal parties with no opportunity for negotiation of terms. A valid contract would
require the signatures of both parties, valid and valuable consideration, full disclosure of facts,
and a meeting of the minds. No such document exists.

ANY and ALL claims of any such adhesion contract being in existence anywhere are based
upon a fraud and anyone perpetuating a fraud is guilty of aiding and abetting a fraud as weil as
perjury of oath.
   

@ 2:18-cv-13826-GAD-DRG ECF No.1, PagelD.26 Filed 12/10/18 Page 26 of 29

The use of notary below is for identification only, and such use does not grant any
"jurisdiction" to anyone.

FURTHER AFFIANT SAITH NOT.

Subscribed and sworn, without prejudice, and with all rights reserved,

(Printed Name:) —larniya Anrre |

Principal, by Special Appearance, in Propria Persona, proceeding Sui Juris. /

  

Autograph: Thunuya. Actual

pate: \2.-\O-\%

On this day of ; , before me, the undersigned, a Notary Public
for , personally appeared the above-signed, known to me to be the

 

one whose name is signed on this instrument, and has acknowledged to me that s/he has
executed the same.

Signed:

 

Printed Name:

 

Date:

 

Address:

 
      

Se 2:18-cv-13826-GAD-DRG ECF No. 1, PagelD.27 Filed 12/10/18 Page 27 of 29

WITNESS STATEMENT AND ACKNOWLEDGEMT

This sworn declaration under the penalty of perjury 1s a document that recites fact pertinent to a legal
proceeding. | beheve that the facts stated in this Sworn Affidavit of Truth are true and correct. | am not
related to TaMiya Sorrel by blood or marriage. I physically witnessing the signature of TaMiya Joy
Sorrell.

men OF THE ST WIT

 

 

 

Signature\

Kt be CAL L
Printed namd bo lg | | ante) Date QO iS

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SIGNATURE QF THE SECOND WITNESS

/, o
Signature CA pesnn Lies Ce
Y
Printed name Lae pe Le tee fete Date 7Z J LE Lb EE

ADDRESS 4720 7 Serreicte Debi 4 47  ¥ F227

SIGNATURE OF THE THIRD WITNESS

Signature Loa (Aivter Wee ke

 

Printed name Younisg. Cathy Drake Date IANO AK

ADDRESS KOZ. Wavicrse Oates Wo “Ub 2K

 
Case 2:18-cv-13826-GAD-DRG ECF No. 1, PagelD.28 Filed 12/10/18 Page 28 of 29

JS 44 (Rev. 06/17}

The JS 44 civil cover sheet and the information contained herein neither
provided by local rules of court. This form, approved by the Judicial Co:
purpose of initiating the civil docket shect.

CIVIL COVER SHEET

rence of the
(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

lace nor supplement the filing and service of pleadings or other papers as required by law, except as
nf PCinited States in September 1974, is required for the use of the

lerk of Court for the

 

i. (a) PLAINTIFFS CAV Oi GAG br
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(b) County of Residence of First Listed Plaintiff Me i4 in o oo

DEFENDANTS

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(EXCEPT IN US. PLAINTIFF CASES)

Ait) Rwerdtale
Ved tat mi Wx234

{c) Attorneys (Firm Name, Address, and Telephone Number)
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County of Residence of First Listed Defendant

CIN U.S. PLAINTIFF CASES ONLY)

Case.2:18-¢v- -13826
Judge: Drain, Gershwin A.

Filed: 12-10-2018 At 04:31 PM
CMP ADAMS on be

half of TJS v SORREL

 

 

     
 

 

 

 

 

 

 

 
 

Il. BASIS OF JURISDICTION (Pisce an “X” in One Box Only} I. 1, ETAL (dat) | ee a we une Box for Plaintiff
anew ene Waarer LES and One Box for Defendant)
1 US. Government Federal Question F DEF PIF DEF
Plaintiff (U5. Government Not a Party} Citizen of This State ¥ 1 ee 5 Incorporated or Principal Place o4 of 4
of Business In This State
A2 US. Govermment O 4 Diversity Citizen of Another State 02 O 2 Incorporated and Principal Place gos O85
Defendant . {indicate Citizenship of Parties in Item Hit} of Business In Another State
Citizen or Subject of a G3 OF 3 Fateign Nation O6 O86
Foreign Country
IV: NATURE OF SUIT (Place an” “XT in One Bax Only) Click here for. Nature of Butt Code Descriptions.
c ROONTRACT: me TORTS Tope 2a " TY: Ta re -
O 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 6 422 Appeal 28 USC 158 17 375 False Claims Act
GF 120 Marine 0) 310 Airplane 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal 0 376 Qui Tam (31 USC
O 130 Miller Act © 315 Airplane Product Product Liability CO 690 Other 28 USC 157 372%a)}
O 140 Negotiable Instrument Liability 0 367 Health Care/ © 400 State Reapportionment
CF 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical "afte 2 10 410 Anctrust
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights O 430 Banks and Banking
Q [51 Medicare Act (7 330 Federal Employers" Product Liability 7 830 Patent 1 450 Commerce
C8 152 Recovery of Defaulted Liability C1 368 Asbestos Personal O 835 Patent - Abbreviated C1 460 Deportation
Student Loans O01 340 Marine Injury Product New Drug Application |0) 470 Racketeer Influenced and
(Excludes Veterans) 0 345 Manne Product Liability qa 840 Trademark Corrupt Organizations
CO 153 Recovery of Overpayment Liability PERSONAL PROPERTY [7 LABOR ede CURE 40) 480 Consumer Credit
of Veteran’s Benefits 0 350 Motor Vehicle 0 370 Other Fraud QO 710 Fair Labor Standards. o 861 HIA (1395H 0 490 Cabie/Sat TV
0} 160 Stockholders’ Suits CF 355 Motor Vehicle O 371 Troth in Lending Act O) 862 Black Lung (923} OF 850 Securities/Commedities/
O 190 Other Contract Product Liability 0 380 Other Personal 0 720 Labor/Management CO 863 DIWC/DIWW (405(g)) Exchange
© 195 Contract Product Liability PPS, 360 Other Personal Property Damage Relavions OD 864 SSID Tide XVI OF 890 Other Statutory Actions
196 Franchise Injury CF 385 Property Damage O 740 Railway Labor Act OF 865 RSI (405(g)) 1 89] Agricultural Acts
7 342 Personal Injury - Product Liability 0 751 Family and Medical 0 893 Eavironmental Matters

 
 

0 210 Land Condemnation

 

Medical Malpractice .

Px 440 Other Civil Rights

Leave Act

 

 

‘PRISGNER PETITIONS 10) 790 Other Labor Litigation

 

 

 

 

 

 

 

 

& 870 Taxes (U.S. Plaintiif

 

O 895 Freedom of Information

Act

 

Habeas Corpus: 0 791 Employee Retirement 1 896 Arbitration
O 220 Foreclosure OC 441 Voting 0 463 Alien Detainee Income Security Act or Defendant) 0 899 Administrative Procedure
CG 230 Rent Lease & Ejectment |) 442 Employment C1 510 Motions to Vacate O 871 IRS—Third Party Act/Review or Appeal of
6 240 Torts to Land 0 443 Honusing/ Sentence 26 USC 7609 Agency Decision
€ 245 Tort Product Liability Accommodations 0 530 General CF 950 Coustitutionality of
296 Ail Other Real Property O 445 Amer. w/Disabilites -{) $35 Death Penalty <n THON» 2 State Statutes
Employment Other: G 462 Naturalization Application
0 446 Amer. w/Disabilities - | 540 Mandamus & Cther [C1 465 Other Immigration
Other OC) 550 Civil Rights Actions
O 448 Education OF 555 Prison Condition
0 560 Civil Detainee -
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VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (De met cite jurisdictional statutes uniess diversity):

 

 

 

 

 

 

 

Brief description of cause:
VIL REQUESTED IN QO) CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.CvP. JURY DEMAND:  TRYes  ONo
VIE RELATED CASE(S)
{See instructions}:
iF ANY NUDGE DOCKET NUMBER oo
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12> W-ly "eae
FOR OFFICE USE ONLY
Case 2:18-cv-13826-GAD-DRG ECF No. 1, PagelD.29 Filed 12/10/18 Page 29 of 29

PURSUANT TO LOCAL RULE 83.11

1. Is this a case that has been previously dismissed? [| Yes

If yes, give the following information:

Court? Apie of wocts A Debud Coys

CaseNo: | x" COVINS

Judge: Cadchuaoas
a

2. Other than stated above, are there any pending or previously
discontinued or dismissed companion cases in this or any other [| Yes
court, including state court? (Companion cases are matters in which V4 No
it appears substantially similar evidence will be offered or the same
or related parties are present and the cases arise out of the same

transaction or occurrence.)

If yes, give the following information:

Court:

 

Case No.:

 

Judge:

 

Notes :

 
